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               4
                    Attorneys for Defendant
               5    IOSIF CAZA

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               8                                   UNITED STATES DISTRICT COURT
               9                                  EASTERN DISTRICT OF CALIFORNIA
             10
                    UNITED STATES OF AMERICA,                           CASE NO. S-06-0058-FCD
             11
                                    Plaintiff,                          STIPULATION AND ORDER
             12
                             v.
             13
                    IOSIF CAZA,
             14
                                    Defendant.
             15

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             17              The parties hereby stipulate to continue the status conference in this case, currently set for

             18     March 27, 2006, to April 24, 2006, at 9:30 a.m. The parties further stipulate that time should be

             19     excluded for this period pursuant to those provisions of the Speedy Trial Act pertaining to

             20     providing defense counsel adequate time to prepare, Local Code T-4, in light of the fact that

             21     counsel for the defendant is still reviewing voluminous discovery and has requested additional

             22     discovery that the government has stated it is willing to provide.

             23              So stipulated.

             24     Dated: March 23, 2006                           DLA PIPER RUDNICK GRAY CARY US LLP
             25
                                                                    By /s/ Matthew G. Jacobs
             26                                                       MATTHEW G. JACOBS
                                                                      Attorneys for Defendant
             27                                                       IOSIF CAZA
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                                                                      -1-
DLA PIPER RUDNICK   SA\8060206.1                    STIPULATION AND [PROPOSED] ORDER
GRAY CARY US LLP    358483-1
                       Case 2:06-cr-00058-JAM Document 15 Filed 03/23/06 Page 2 of 2


               1    Dated: March 23, 2006

               2                                        McGREGOR W. SCOTT
                                                        UNITED STATES ATTORNEY
               3

               4                                        By    /s/ Camil Skipper (as authorized on 3/23/06)
                                                             CAMIL SKIPPER
               5                                             ASSISTANT U.S. ATTORNEY
               6

               7

               8                                        ORDER
               9
                    IT IS SO ORDERED:
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             11
                    Dated: March 23, 2006               /s/ Frank C. Damrell Jr.
             12                                         HONORABLE FRANK C. DAMRELL JR.
                                                        UNITED STATES DISTRICT COURT JUDGE
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DLA PIPER RUDNICK   SA\8060206.1            STIPULATION AND [PROPOSED] ORDER
GRAY CARY US LLP    358483-1
